     Case 2:10-md-02179-CJB-DPC Document 12440-2 Filed 03/03/14 Page 1 of 9




                                UNITED STATES DISTRICT COURT

                                EASTERN DISTRICT OF LOUISIANA



IN RE: OIL SPILL by the OIL RIG                      *   MDL NO. 2179
       "DEEPWATER HORIZON" in the                    *
       GULF OF MEXICO, on                            *   SECTION J
       APRIL 20, 2010                                *
                                                     *   JUDGE BARBIER
THIS PLEADING APPLIES TO:                            *   MAG. JUDGE SHUSHAN
No. 12-311                                           *
                                                     *   JURY TRIAL DEMANDED

***************************************************

        PLAINTIFF CAMERON INTERNATIONAL CORPORATION'S
  STATEMENT OF UNCONTESTED MATERIAL FACTS IN SUPPORT OF ITS
MOTION FOR PARTIAL SUMMARY JUDGMENT ON ITS CLAIM FOR BREACH OF
           CONTRACT, INDEMNITY, AND DEFENSE EXPENSES


                 Plaintiff Cameron International Corporation ("Cameron") respectfully submits

this statement of uncontested material facts in support of its motion for partial summary

judgment:

1.      Cameron purchased an excess casualty insurance policy from Liberty Insurance

        Underwriters, Inc. ("Liberty") for the policy period from July 1, 2009 through July 1,

        2010 ("Liberty Policy" or "Policy"). (See Liberty Policy Decl. Item 2 (Ex. 2).) 1

2.      Liberty charged Cameron a premium of $210,000 for the Liberty Policy. (Liberty Policy

        Decl. Item 3 (Ex. 2).)

3.      The Liberty Policy provides $50 million in limits above $100 million in "Underlying

        Insurance," defined as the First Underlying Insurance Policy with $25 million limits


1
 Citations to "Ex. __" are to the exhibits annexed to Cameron's Memorandum of Law in Support of its Motion for
Partial Summary Judgment on its Claims for Breach of Contract, Indemnity, and Defense Expenses. For the Court's
convenience, Exhibit 1 contains an index of exhibits.


                                                                                                        1152480v1
     Case 2:10-md-02179-CJB-DPC Document 12440-2 Filed 03/03/14 Page 2 of 9




        issued by Illinois National Insurance Company and Other Underlying Insurance Excess

        of First Underlying Insurance Policy with $75 million limits issued by "Various

        Companies."    (See Liberty Policy Decl. Item 5, Art. I (Ex. 2.)        That "Underlying

        Insurance," in turn, was excess of a $3 million "fronting policy" for which Cameron was

        responsible.

4.      The Liberty Policy was one layer of a "tower" of ten excess casualty insurance policies

        purchased by Cameron for the 2009-2010 policy year. (See Insurance Tower Diagram

        (Ex. 6).) In total, Cameron acquired $500 million in excess casualty coverage. (Id.) The

        first underlying excess insurance policy in that tower was issued by Illinois National

        Insurance Company ("INIC Policy"). (See INIC Policy (Ex. 9).)

5.      Liberty drafted the Liberty Policy using its standard terms and conditions for excess

        casualty insurance as set forth on Liberty Form 0101-XS (Ed. 03-00). (See Morris Dep.

        at 38 (Ex. 3); Mandel Dep. at 41-42 (Ex. 4); Form 0101-XS (Ed. 03-00) (Ex. 5).) Liberty

        did not negotiate those terms and conditions, and did not do so with Cameron. (See

        Morris Dep. at 54 ("[T]his is the form that everybody gets."); Mandel Dep. at 45-47

        (testifying that Liberty "never" agrees to modify the terms and conditions and "never" did

        so with Cameron).)

6.      Liberty agreed to provide Cameron $50 million in coverage if Cameron suffered a "loss"

        in excess of $103 million, the limits of Cameron's underlying insurance. (See Liberty

        Policy Decl., Art. I, Decl. Items 4-5 (Ex. 2).) Liberty also agreed to "promptly pay on

        [Cameron's] behalf the amount of 'loss' covered under this policy." (Id. Art. V(H).)

7.      On April 20, 2010, during the Policy period, a blowout of the Macondo Well occurred,

        causing an explosion and fire aboard the Deepwater Horizon. These events gave rise to



                                               -2-
                                                                                               1152480v1
      Case 2:10-md-02179-CJB-DPC Document 12440-2 Filed 03/03/14 Page 3 of 9




         hundreds of lawsuits, naming Cameron, Transocean, BP and others as defendants and

         third-party defendants. The lawsuits were consolidated in multi-district litigation.

8.       On April 23, 2010, Cameron provided notice to Liberty that it incurred potential liability

         arising from the Macondo Well blowout. (Liberty's Resp. to Req. for Admis. No. 1, Apr.

         8, 2013 (Ex. 12).)

9.       On August 10, 2010, Cameron requested that Transocean Ltd. and all subsidiaries and

         affiliates ("Transocean") indemnify Cameron under both "knock-for-knock" and

         pollution indemnity provisions contained within contracts between Cameron and

         predecessors to Transocean relating to the sale of the blowout preventer used on the

         Deepwater Horizon.

10.      Although Transocean agreed to honor its "knock-for-knock" indemnity agreements, it

         denied owing any indemnity to Cameron for pollution liabilities.

11.      Cameron sued Transocean. Transocean, in turn, sued Cameron for damages arising from

         its pollution-related liabilities, indemnity and contribution. Transocean and BP both

         opposed Cameron's attempts to obtain indemnity for pollution liabilities from

         Transocean. (See Answer to Verified Compl. for Exoneration, Claims, Countercls., and

         Cross-cls. of Cameron Int'l Corp., Apr. 20, 2011, Dkt 412 (Case No. 10-2771);

         Transocean's Rule 14(c) Third-Party Compl., Feb. 18, 2011, Dkt. No. 1320; Transocean's

         Rule 13 Cross-cls./Countercls., Apr. 20, 2011, Dkt. 2068.)

12.      In October 2011, Cameron began settlement negotiations with BP. (Eastman Dep. at 119

         (Ex. 31).)

13.      When Cameron began settlement negotiations with BP, and through the time Cameron

         settled with BP, Cameron was receiving and since has received no money from



                                                 -3-
                                                                                                1152480v1
      Case 2:10-md-02179-CJB-DPC Document 12440-2 Filed 03/03/14 Page 4 of 9




         Transocean (or BP) for pollution-related liabilities under the indemnity terms of

         Cameron's contracts with Transocean. (See Liberty's Resp. to Req. for Admis. Nos. 15-

         16, Apr. 8, 2013 (Ex. 12).)

14.      BP denies owing any indemnity to Transocean for pollution liabilities. (Transocean Ltd,

         Form 10-K, filed Feb. 27, 2014, at 116 (Ex. 32).)

15.      BP's obligations to Transocean for pollution liability have not been resolved. (Order and

         Reasons, dated Jan. 26, 2012, at 29 (Dkt. 5446).)

16.      To date, BP has, in fact, provided no indemnity to Transocean for pollution liabilities.

         (Transocean Ltd, Form 10-K, filed Feb. 27, 2014, at 116 (Ex. 32).)

17.




                                        (See Nov. 7, 2011 letter from P. Koepff (Ex. 16).)

18.      On December 12, 2011, with the assistance of Magistrate Judge Shushan as mediator,

         Cameron and BP reached a tentative settlement of nearly all of Cameron's Macondo-

         related liability in exchange for a $250 million payment. (See Dec. 12, 2011 email from

         M. Auslander (Ex. 17).)

19.      Over the next three days, all of Cameron's insurers except Liberty consented to the

         proposed settlement.

20.                                                              (See Dec. 13, 2011 letter from P.

         Koepff (Ex. 19); Dec. 14, 2011 letter from P. Koepff (Ex. 18).)

21.                                                                                             (See

         Dec. 14, 2011 letter from P. Koepff (Ex. 18).)



                                                -4-
                                                                                             1152480v1
      Case 2:10-md-02179-CJB-DPC Document 12440-2 Filed 03/03/14 Page 5 of 9




22.



                                (See Dec. 13, 2011 letter from P. Koepff (Ex. 19); see also Dec.

         14, 2011 letter from P. Koepff (Ex. 18).)

23.      On December 15, 2011, Cameron entered into the Confidential Settlement Agreement,

         Mutual Releases and Agreement to Indemnify with BP Exploration & Production, Inc.

         and BP Corporation North America Inc ("BP-Cameron Settlement"). (Ex. 21.)

24.      BP and Cameron agreed in the BP-Cameron Settlement that "[n]otwithstanding any other

         provision of this Agreement, . . . Cameron is not releasing any subrogation or other rights

         of Liberty Insurance Underwriters Inc." (See BP-Cameron Settlement ¶ 4.4 (Ex. 21).)

         BP and Cameron also agreed that Cameron would be required, through settlement or

         judgment, to obtain in any litigation with Liberty a waiver of Liberty's subrogation rights

         "against the BP Released Parties or Third Parties, including Transocean." (Id. ¶ 4.6.) In

         light of these provisions, on June 13, 2013, BP stated to the Court: "[T]he plain language

         of the BP-Cameron Settlement states that Cameron has not released Liberty's rights to

         subrogate and assert the same claims that Cameron could have asserted itself against BP,

         Transocean, and any other parties before entering into the BP-Cameron Settlement.

         Those subrogation rights were not extinguished or impaired under the BP-Cameron

         Settlement by release, assignment to BP, or otherwise." (BP Mot. to Quash 8-9, June 13,

         2013, Dkt. 10388; see also Eastman Dep. at 105, 140-41 (Ex. 31).)

25.      When it issued the Liberty Policy to Cameron, Liberty did not consider the "Other

         Insurance" provision as a basis to refuse to pay Cameron under the Liberty Policy. (See

         Mandel Dep. at 31 (Ex. 4) ("Q: When you underwrote the policy to Cameron, you didn't



                                                -5-
                                                                                             1152480v1
      Case 2:10-md-02179-CJB-DPC Document 12440-2 Filed 03/03/14 Page 6 of 9




         have an expectation that the 'other insurance' clause could be used by Liberty as a basis to

         decline to pay Cameron any money? A: Never.").)

26.      Liberty did not intend Cameron to be without insurance under the Liberty Policy for

         losses resulting from blowouts based on its "Other Insurance" provision where the

         potential source of other insurance had refused to pay and denied liability. (See Mandel

         Dep. at 104 (Ex. 4) ("Q: And if [third parties with whom Cameron had contractual

         indemnities] didn't pay that loss, then it would be Liberty's responsibility, because it

         issued an insurance policy, to pay that loss; correct? A: Correct."); see also id. at 31

         (underwriter of the Liberty Policy testifying that he "never" expected Liberty could use

         the "other insurance" clause as a basis to decline to pay Cameron); id. at 108-09

         (underwriter of the Liberty Policy testifying that Cameron's contractual indemnities did

         not have anything "at all" to do with the "other insurance" provision when Liberty sold

         the Liberty Policy); id. at 174 (underwriter of the Liberty Policy testifying that it was his

         understanding that, if a contractual indemnitor did not pay, Liberty would be responsible

         under its policy).

27.      Liberty's "Other Insurance" clause has been used in all Liberty excess casualty policies in

         exactly the same form for over a decade before the Liberty Policy was issued. (Liberty's

         Supp. Resp. to Interrogs. Nos. 11-12, Feb. 25, 2013 (Ex. 22); Morris Dep. at 38 (Ex. 3).)

28.      Liberty is unable to identify any instance where Liberty has denied payment to an insured

         based on its "Other Insurance" provision. (See Liberty's Supp. Resp. to Interrog. No. 18,

         Feb. 25, 2013 (Ex. 22).)




                                                 -6-
                                                                                               1152480v1
      Case 2:10-md-02179-CJB-DPC Document 12440-2 Filed 03/03/14 Page 7 of 9




29.      This is the first time that Liberty has taken the position that "other insurance" existed

         where "the party that supposedly owes the indemnity has denied payment to the insured."

         (Engel Dep. at 160-61 (Ex. 20).)

30.      The indemnity provisions contained in Cameron's contracts with Transocean are

         contractual indemnities.    (See Purchase Order ¶ 18 at LIU12017 (Ex. 11); Master

         Services Agreement Am. No. 1 ¶ 15 at LIU07210 (Ex. 10).)

31.      No other insurer in Cameron's insurance tower objected to the BP-Cameron Settlement

         based on an "Other Insurance" provision.

32.      Policies issued by Chubb Atlantic Indemnity Limited ("Chubb") and AIG Excess

         Liability Insurance International Limited ("AIG Excess") contained "Restrictive As

         Underlying Provisions."      (Chubb Policy Cond. 7 (Ex. 7) ("[I]f any Underlying

         Policy(ies) with limits of liability in excess of the underwriter of the Followed Policy but

         underlying to this Policy (the Intervening Policy(ies) contains warranties, terms,

         conditions, exclusions or limitations more restrictive than this Policy or the Followed

         Policy, . . . then this Policy shall be deemed to follow those more restrictive warranties,

         terms, conditions, exclusions or limitations of the Intervening Policy(ies)."); AIG Excess

         Policy § VI(J) (Ex. 8) (same).)

33.      Chubb and AIG Excess agreed to consent and contribute to the BP-Cameron Settlement,

         and                                                                  (Dec. 14, 2011 letter

         from R. Bryan (Ex. 25); see Nusum Dep. at 27, 34-35 (Ex. 13); Martin Dep. at 46-47

         (Ex. 26).)




                                                 -7-
                                                                                              1152480v1
      Case 2:10-md-02179-CJB-DPC Document 12440-2 Filed 03/03/14 Page 8 of 9




34.      "Except for any definitions, terms, conditions, and exclusions" of the Liberty Policy, the

         coverage provided by Liberty was "subject to the terms and conditions of the [INIC

         Policy]." (Liberty Policy Art. I, Decl. Item 5 (Ex. 2).)

35.      The INIC policy states that "Defense Expenses will be in addition to the applicable

         Limits of Insurance of this policy." (INIC Policy End. 29 ¶ 2 § IV(H) (Ex. 9).)

36.      The Liberty Policy makes no mention of Defense Expenses. (Liberty Policy (Ex. 2).)

37.      Liberty has paid none of Cameron's defense expenses incurred in defending claims in the

         Oil Spill MDL.

38.      All of Cameron's insurers, except for Liberty, resolved Cameron's insurance claim.

39.      Cameron paid the $50 million that Liberty refused to contribute toward the BP-Cameron

         Settlement.

                                                   Respectfully submitted,

Dated: March 3, 2014                               /s/ Phillip A. Wittmann
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                                                 -8-
                                                                                              1152480v1
   Case 2:10-md-02179-CJB-DPC Document 12440-2 Filed 03/03/14 Page 9 of 9




                               CERTIFICATE OF SERVICE

              I hereby certify that the above and foregoing Plaintiff Cameron International

Corporation's Statement of Uncontested Material Facts in Support of its Motion for Partial

Summary Judgment on its Claim for Breach of Contract, Indemnity, and Defense Expenses been

served on all Counsel by electronically uploading the same to Lexis Nexis File & Serve in

accordance with Pretrial Order No. 12, and that the foregoing was electronically filed with the

Clerk of Court of the United States District Court for the Eastern District of Louisiana by using

the CM/ECF System, which will send a notice of electronic filing in accordance with the

procedures established in MDL 2179, on this 3rd day of March, 2014.


                                            /s/ Phillip A. Wittmann




                                              -9-
                                                                                          1152480v1
